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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the case listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION


8:89CR145                                            US v. Samuel Anderson
8:92CR14                                             US v. Butler, et al.
8:92CR117                                            US v. Johnson, et al.
8:93CR77                                             US v. Ray Patterson
8:93CR121                                            US v. Bruce A. Billesbach
8:95CR79                                             US v. Clarence Robinson
8:95CR119 `                                          US v. Raul Chavez
8:95CR128                                            US v. Richard Thomas, et al.
8:96CR46                                             US v. Milton, et al.
8:96CR133                                            US v. Benitez-Meraz
8:98CR2                                              US v. Efrain Gomez
8:98CR199                                            US v. Anthony Hardy
8:98CR255                                            US v. Johnny Lee Titsworth
4:98CR3004                                           US v. Charles P. Seacrest
4:98CR3111                                           US v. Eric Michael
8:99CR80                                             US v. Gene Abboud, et al.
8:99CR80                                             US v. Susan Germer, et al.
8:99CR141/144                                        US v. Saul Rodrigues, et al.
8:99CR145                                            US v. Caballero-Chavez, et al.
4:99CR3024                                           US v. Richard Eddy
8:00CR150                                            US v. Anthony Marion
8:00CR204/206/207/208/210/212                        US v. Clark, et al.
8:00CR304                                            US v. Jamison Alford
8:00CR306                                            US v. Kevin Moore
8:00CR307                                            US v. Walter Harris
8:01CR123                                            US v. Malik Jarmon
8:01CR128                                            US v. Renauld Fox
8:01CR130                                            US v. Lafayette Ely
8:01CR207                                            US v. Donald E. Coleman
8:01CR215                                            US v. Tracy A. Cook
8:01CR219                                            US v. Elijah Harris
8:01CR221                                            US v. Valentin Valdez-Espinoza
8:01CR240                                            US v. Roscoe Wallace
8:01CR319                                            US v. Vondray Martin
8:01CR320                                            US v. Pierre Hagler
8:01CR322                                            US v. Deandrae Johnson
8:01CR323                                            US v. Michael Hill
8:01CR325                                            US v. Jimmy Swain
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8:02CR23                                         US v. Lafayette Trotter, Jr.
8:02CR124                                        US v. Anthony Felton
8:02CR125                                        US v. Ronald Hoskins
8:02CR126                                        US v. Michael E. Smith
8:02CR127                                        US v. Gregory Turner Figures
8:02CR128                                        US v. Trinity Briggs
8:02CR128                                        US v. Taro Brandon Taylor
8:02CR181                                        US v. Efrain Villanueva
8:02CR215                                        US v. Stanley Crawford
8:02CR218                                        US v. Hersel Raymar Bradley
8:02CR265                                        US v. Juan Ray Mendez
8:02CR346                                        US v. Deshawn Grant
8:02CR390                                        US v. Lionel Cawthon
4:02CR3110                                       US v. Melissa Frazier
8:02CR415                                        US v. Patrick Russell
8:02CR420                                        US v. Kelion Veland
8:02CR422                                        US v. Carlos Carter
8:02CR432                                        US v. James Benford
8:02CR436                                        US v. Tyree Lampkin
8:03CR51                                         US v. Calvin Patrick McLenon, et al.
8:03CR136                                        US v. Michael E. Williams
8:03CR196                                        US v. Jeremy Walker
8:03CR280                                        US v. Kenda D. Fergus
8:03CR288                                        US v. Terrell Brown
8:04CV518                                        US v. Lance A. Coffer




     DATED this 30TH day of May, 2007.


                                           BY THE COURT

                                           s/Lyle E. Strom
                                           Senior United States District Judge
